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IN THE DISTRICT COURT OF THE UNITED STATES
FOR THE DISTRICT OF SOUTH CAROLINA
SPARTANBURG DIVISION

CR.No. LU! 24 cr 18G

UNITED STATES OF AMERICA

)
)

) 18 U.S.C. § 2251(a)
vs. ) 18 U.S.C. § 2252A(a)(5)\(B)
) 18 U.S.C. § 2252A(b)(2)

) 18 U.S.C. § 2253

) 28 U.S.C. § 2461(c)

)
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)

RYAN CHRISTOPHER ROBERGE

INDICTMENT

THE GRAND JURY CHARGES:

On or about May 11, 2024, in the District of South Carolina, the Defendant, RYAN
CHRISTOPHER ROBERGE, did attempt to employ, use, persuade, induce, entice, and coerce a
minor to engage in sexually explicit conduct (as defined in 18 U.S.C. § 2256(2)) for the purpose
of producing a visual depiction of such conduct, knowing and having reason to know that such
visual depiction would be transported in interstate commerce; which visual depiction was
produced using materials that had been mailed, shipped, and transported in interstate commerce;
and which visual depiction was transported in interstate commerce.

All in violation of Title 18, United States Code, Section 2251 (a).
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COUNT 2
THE GRAND JURY FURTHER CHARGES:

On or about July 16, 2024, in the District of South Carolina and elsewhere, the Defendant,
RYAN CHRISTOPHER ROBERGE, did knowingly possess material that contained images of
child pornography, as defined in Title 18, United States Code, Section 2256(8), and which had
been mailed, shipped, and transported in interstate and foreign commerce by any means, including

by computer, and which were produced using materials that had been mailed and shipped and
transported in interstate and foreign commerce by any means, including by computer, in that he
did possess a iPhone 12 Pro Max cellular telephone on which were stored visual depictions of
persons under the age of eighteen engaging in sexually explicit conduct, as that term is defined in
Title 18, United States Code, Section 2256(2).

All in violation of Title 18, United States Code, Sections 2252A(a)(5)(B) and 2252A(b)(2).
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FORFEITURE

SEXUAL EXPLOITATION OF CHILDREN:

Upon conviction for violation of Title 18, United States Code, Sections 2251 and 2252A
as charged in this Indictment, the Defendant, RY AN CHRISTOPHER ROBERGE, shall forfeit
to the United States his interest in:

(i) any visual depiction described in section 2251, 2251A, 2252 or
2252A of chapter 110 of the United States Code, or any book,
magazine, periodical, film, videotape, or other matter which contains
any such visual depiction, which was produced, transported, mailed,
shipped, or received in violation of chapter 110 of the United States
Code;

(ii) | any property, real or personal, constituting, or traceable to gross
profits or other proceeds obtained from such offenses; and,

(iii) | any property, real or personal, used or intended to be used to commit
or to promote the commission of such offenses.

PROPERTY:
The property subject to forfeiture pursuant to Title 18, United States Code, Section 2253
and Title 28, United States Code, Section 2461(c), includes, but is not limited to, the following:

A, Proceeds/Forfeiture Judgment:

A sum of money equal to all proceeds the Defendant obtained,
directly or indirectly, from the offenses charged in this
Indictment, and all interest and proceeds traceable thereto, and/or
such sum that equals all property derived from or traceable to his
violation of Title 18.

B. Electronic Equipment:

(1) Blue iPhone 12 Pro Max
Serial Number: GONFVXH90D42

(2) HMD Cellular Device
IMEI Number: 353407230510067
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SUBSTITUTE ASSETS:

If any of the property described above, as a result of any act or omission of the
Defendant:

cannot be located upon the exercise of due diligence;

has been transferred or sold to, or deposited with, a third party;

has been placed beyond the jurisdiction of the court;

has been substantially diminished in value; or

has been commingled with other property which cannot be divided
without difficulty,

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it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), as
incorporated by 18 U.S.C. § 982(b)(1) to seek forfeiture of any other property of Defendant up to
an amount equivalent to the value of the above-described forfeitable property;

All pursuant to Title 18, United States Code, Section 2253 and Title 28, United States

Code, Section 2461(c). ne
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